     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 1 of 17 Page ID #:1




 1
     Thomas Mauriello (SBN: 144811)
     MAURIELLO LAW FIRM
 2   1230 Columbia Street, Suite 1140
 3   San Diego, CA 92101
     Phone: (619) 940-1606
 4   Fax: (949) 606-9690
 5   Email: tomm@maurlaw.com

 6 Brian M. Akkashian (To Be Admitted Pro Hac Vice)

 7 Devin Bone (To Be Admitted Pro Hac Vice)
     Paesano Akkashian Apkarian, PC
 8 7457 Franklin Road, Suite 200
 9 Bloomfield Hills, MI 48301
     Phone: (248) 792-6886
10 Fax: (248) 792-6885

11 Email: bakkashian@paalawfirm.com
            dbone@paalawfirm.com
12
     Attorneys for Plaintiffs Salgado Family
13
     Trucking, Inc. and Bell Rose Capital, Inc.
14

15
                             UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
17
                                   EASTERN DIVISION
18

19 SALGADO FAMILY TRUCKING,

20 INC., a California corporation, and            COMPLAINT
   BELL ROSE CAPITAL, INC., a
21 Wyoming corporation,                           DEMAND FOR JURY TRIAL ON
                                                  ALL CAUSES OF ACTIONS SO
22                                                TRIABLE
               Plaintiffs,
23 v.

24
     PAUL KHAN, an individual, JOEL
25 TOMBRAN, an individual, STEPHEN

26 TAUB, an individual, and BRANALEX
     FINANCIAL GROUP, INC., an
27 Ontario corporation,

28
               Defendants.
                                              1
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 2 of 17 Page ID #:2




 1         Plaintiffs Salgado Family Trucking, Inc. (“Salgado”) and Bell Rose Capital,
 2 Inc. (“Bell Rose,” collectively with Salgado, “Plaintiffs”), by and through their

 3 attorneys herein, state for their Complaint against Defendants Paul Khan (“Khan”),

 4 Joel Tombran (“Tombran”), Stephen Taub (“Taub”) and Branalex Financial Group,

 5 Inc. (“Branalex,” collectively with Khan, Tombran and Taub, “Defendants”), as

 6 follows:

 7
                                        THE PARTIES

 8         1.     Salgado is a California corporation with its principal place of business
 9
     located in Adelanto, California.
10

11         2.     Bell Rose is a Wyoming corporation with its principal place of business

12 located in Adelanto, California.

13
           3.     On information and belief, Khan is a resident of Pickering, Ontario,
14

15 Canada with an address at 518 Alder Court, Pickering, Ontario, L1V 4T1.

16         4.     On information and belief, Tombran is a resident of Mississauga,
17
     Ontario, Canada with an address at 4240 Schneider Court, Mississauga, Ontario L5B
18

19 3N7.

20         5.     On information and belief, Taub is a resident of Toronto, Ontario,
21
     Canada with an address at 133 Richmond Street W., Suite 310, Toronto, Ontario,
22

23 M5E 2L3.

24         6.     On information and belief, Branalex is an Ontario corporation with an
25
     address at 133 Richmond Street W., Suite 310, Toronto, Ontario, M5E 2L3, and
26

27 which is owned, in whole or in part, by Taub.

28 / / /

                                              2
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 3 of 17 Page ID #:3




 1
                                       JURISDICTION

 2         7.     This Court has subject matter jurisdiction over this action pursuant to
 3
     28 U.S.C. 1332(a)(2) because Plaintiffs and Defendants are citizens of different
 4

 5 states or countries, all Plaintiffs being California residents and all Defendants being

 6 residents of Ontario, Canada, and the amount in controversy exceeds Seventy-Five

 7
     Thousand Dollars ($75,000), exclusive of interest, costs and attorney fees.
 8
 9         8.     This Court has personal jurisdiction because Defendants have sufficient

10 contacts with the state of California such that maintenance of this action does not

11
     offend traditional notions of fair play and substantial justice.
12

13         9.     Specifically: (1) Khan entered into a contract with Salgado, a California

14 corporation, to provide consulting services for Salgado and implement a going

15
     public strategy, (2) Defendants provided services to, and accepted compensation
16

17 from, Salgado relating to Salgado’s acquisition of Bell Rose, (3) Defendants were

18 issued stock in Bell Rose, a company which maintains its primary address in

19
     Adelanto, California, though the validity of the stock issuance is in question and
20

21 forms part of Plaintiffs’ claims in this case.

22         10.    Plaintiffs’ claims arise out of Defendants’ contacts with the state of
23
     California and Defendants have purposefully availed themselves of the protections
24

25 of California law.

26         11.    Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) and/or (3).
27
     ///
28

                                                3
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 4 of 17 Page ID #:4




 1
                                    STATEMENT OF FACTS

 2         12.   Founded in 2017, Salgado is a family-owned commercial trucking
 3
     company based in Adelanto, California.
 4

 5         13.   Salgado’s Chief Executive Officer (“CEO”) is Carlos Salgado (“Mr.

 6 Salgado”).

 7
           14.   In 2021, Salgado sought to “go public,” but lacked the necessary
 8
 9 knowledge or expertise to pursue this objective on its own.

10         15.   In 2021, Mr. Salgado was introduced to Khan by a third party. Khan
11
     represented to Mr. Salgado that he had the necessary experience, expertise and
12

13 contacts to help Salgado go public.

14         16.   Based on Khan’s representations, Salgado entered into a “Consulting
15
     and Services Agreement” with Khan on or about July 31, 2021 (the “Consulting
16

17 Agreement”), a true and correct copy of which is attached hereto as Exhibit A,

18 pursuant to which Khan would receive 5% of the capital stock of Salgado in

19
     exchange for implementation of an appropriate going public strategy. Khan drafted
20

21 the Consulting Agreement.

22         17.   Khan subsequently received an issuance of 5% of the capital stock of
23
     Salgado to him.
24

25         18.   Khan recommended a strategy whereby Khan would locate the
26 controlling interest in a non-operating public company (a so-called “public shell”

27
     company), and Salgado would acquire the controlling interest in the company and
28

                                              4
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 5 of 17 Page ID #:5




 1
     would then merge Salgado and the company and process a “company-related action”

 2 for the transaction to the extent required under Financial Institution Regulatory

 3
     Authority (“FINRA”) rules. The surviving publicly traded company would either
 4

 5 directly operate the Salgado trucking business as a subsidiary of the public company,

 6 or the publicly traded company would be the sole shareholder of Salgado as a

 7
     wholly-owned subsidiary that would operate the trucking business.
 8
 9         19.    Khan subsequently represented to Mr. Salgado that he could not locate

10 any non-operating, publicly-traded companies that met their requirements and that

11
     he needed to bring in two of his associates, Tombran and Taub, to assist him.
12

13         20.    Defendants eventually identified Bell Rose as a non-operating public

14 company that might suit Salgado’s needs. In November of 2021, Salgado acquired

15
     the majority and controlling interest in Bell Rose for $311,000.
16

17         21.    Around the time of the acquisition, Khan represented to Mr. Salgado
18 that the merger of Salgado and Bell Rose was completed merely by Salgado’s

19
     acquisition of Bell Rose in November of 2021.
20

21         22.    This representation was false. Salgado and Bell Rose were not merged
22 merely by virtue of the acquisition. Defendants failed to take any action to complete

23
     the contemplated merger of Salgado and Bell Rose. To date, no merger has occurred.
24

25         23.    Later, in a March 7, 2022 email, Khan acknowledged that no merger
26 had taken place, stating: “to be clear, Salgado Family is a wholly owned subsidiary

27
     of Bell Rose. They exist as separate entities.” A true and correct copy of this email
28

                                              5
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 6 of 17 Page ID #:6




 1
     is attached hereto as Exhibit B.     While Khan in his email “came clean” in

 2 acknowledging that no merger had occurred, his statement that “Salgado . . . is a

 3
     wholly owned subsidiary of Bell Rose” was incorrect. In fact, it was Salgado that
 4

 5 had acquired Bell Rose, not the other way around.

 6         24.   Khan further misrepresented that, as a result of the merger, his shares
 7
     of Salgado, which had been paid pursuant to the terms of the Consulting Agreement,
 8
 9 were required to be converted to shares of Bell Rose.

10         25.   In that regard, Khan prepared and had Mr. Salgado sign a one-page
11
     Amendment to Consulting and Services Agreement (the “Amendment”), the sole
12

13 purported operative provision of which was to substitute Bell Rose as the “Client”

14 in place of Salgado, as follows: “All references to the ‘Client’ being Salgado will be

15
     restated to indicate that the Client is now Bell Rose Capital Inc.” The Amendment
16

17 is between Khan and Salgado only. A true and correct copy of the Amendment is

18 attached hereto as Exhibit C.

19
           26.   The Amendment is of no force and effect because: (1) Bell Rose is not
20

21 a party to the Consulting Agreement or the Amendment, (2) Khan provided no

22 consideration to Salgado for the Amendment, and (3) the substitution of Bell Rose

23
     for Salgado is premised on Khan’s misrepresentations, both to Mr. Salgado directly,
24

25 and also in the recitals of the Amendment itself, that Salgado had been acquired “by

26 a publicly traded company, Bell Rose Capital Inc,” see Exhibit C, when no such

27
     acquisition had occurred.
28

                                              6
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 7 of 17 Page ID #:7




 1
           27.    On or about November 30, 2021, Khan caused a press release to be

 2 issued to the public announcing that Bell Rose had acquired Salgado, when in fact

 3
     no such acquisition had occurred. Rather, Salgado had acquired Bell Rose. A true
 4

 5 and correct copy of the press release is attached hereto as Exhibit D.

 6         28.    Khan also misrepresented to Mr. Salgado that, as part of the non-
 7
     existent merger, it was necessary for Salgado to issue Khan shares in Bell Rose.
 8
 9         29.    In reasonable reliance on the misrepresentations of Khan, who had held

10 himself out as an expert in corporate mergers and acquisitions and related matters,

11
     Mr. Salgado caused Bell Rose to issue Khan twenty-five million (25,000,000)
12

13 common shares of Bell Rose stock and one million (1,000,000) preferred shares, for

14 no consideration. This constituted 5% of each of Bell Rose’ common and preferred

15
     stock, respectively.
16

17         30.    Shortly after the closing of Salgado’s acquisition of the controlling
18 interest in Bell Rose, Khan also represented to Mr. Salgado that his associates,

19
     Tombran and Taub, had not been compensated for their role in Salgado’s acquisition
20

21 of Bell Rose and demanded that they be compensated through the issuance of Bell

22 Rose Stock.

23
           31.    There was no contractual or other legal basis for Tombran and Taub to
24

25 be issued any shares of Bell Rose Stock. Moreover, Khan’s representations were

26 false because, in fact, Tombran and Taub had received $30,000 of the $311,000

27
     purchase price paid by Salgado for Bell Rose.
28

                                              7
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 8 of 17 Page ID #:8




 1
           32.   In reasonable reliance on Khan’s misrepresentations, however, Mr.

 2 Salgado caused Bell Rose to issue each of Tombran and Taub (through his company

 3
     Branalex), ten million (10,000,000) shares of Bell Rose common stock, for no
 4

 5 consideration.

 6         33.   In addition, Khan misrepresented to Mr. Salgado that, as part of the
 7
     non-existent merger, it was necessary to transfer the interests of numerous other
 8
 9 Salgado shareholders to Bell Rose, which Salgado did, for no consideration.

10         34.   The above-described issuances and transfers appear on a “Detailed
11
     Holder List” of Bell Rose’s transfer agent, Pacific Stock Transfer (“PST”). A true
12

13 and correct copy of this list is attached hereto as Exhibit E.

14                                 COUNT I – FRAUD
15                             (By Plaintiffs Against Khan)
16         35.   Plaintiffs reassert and reallege the allegations contained in the
17
     foregoing paragraphs as though fully restated herein.
18

19         36.   As    more     fully   described    above,    Khan    made     numerous
20 misrepresentations to Plaintiffs including, but not limited to, misrepresentations that:

21
     (1) Khan had the experience, expertise and ability to take Salgado public, (2) the
22

23 merger of Salgado and Bell Rose was complete, (3) as part of the non-existent

24 merger, it was necessary to convert Khan’s shares of Salgado to shares of Bell Rose,

25
     (4) Tombran and Taub had not been compensated for their role in Salgado’s
26

27 acquisition of Bell Rose, and (5) as part of the non-existent merger, it was necessary

28

                                               8
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 9 of 17 Page ID #:9




 1
     to transfer the interests of numerous other Salgado shareholders to Bell Rose, which

 2 Salgado did, for no consideration.

 3
           37.    Khan knew or should have known that the representations were false
 4

 5 when made.

 6         38.    Khan made the misrepresentations with the intent to defraud Plaintiffs
 7
     and/or to induce Plaintiffs’ reliance on the representations.
 8
 9         39.    Plaintiffs justifiably relied on the misrepresentations and were damaged

10 as a result.

11
           40.    Plaintiffs seek to rescind the issuances of Bell Rose stock to Defendants
12

13 and to recover damages caused by Khan’s fraud.

14                COUNT II – NEGLIGENT MISREPRESENTATION
15                          (By Plaintiffs Against Khan)
16         41.    Plaintiffs reassert and reallege the allegations contained in the
17
     foregoing paragraphs as though fully restated herein.
18

19         42.    As    more    fully   described     above,    Khan    made    numerous
20 misrepresentations to Plaintiffs including, but not limited to, misrepresentations that:

21
     (1) Khan had the experience, expertise and ability to take Salgado public, (2) the
22

23 merger of Salgado and Bell Rose was complete, (3) as part of the non-existent

24 merger, it was necessary to convert Khan’s shares of Salgado to shares of Bell Rose,

25
     (4) Tombran and Taub had not been compensated for their role in Salgado’s
26

27 acquisition of Bell Rose, and (5) as part of the non-existent merger, it was necessary

28

                                               9
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 10 of 17 Page ID #:10




 1
      to transfer the interests of numerous other Salgado shareholders to Bell Rose, which

 2 Salgado did, for no consideration.

 3
             43.     Khan knew or should have known that the representations were false
 4

 5 when made.

 6           44.     Plaintiffs justifiably relied on the misrepresentations and were damaged
 7
      as a result.
 8
 9           45.     Plaintiffs seek to rescind the issuances of Bell Rose stock to Defendants

10 and to recover damages caused by Khan’s fraud.

11
                       COUNT III – BREACH OF FIDUCIARY DUTY
12                            (By Plaintiffs Against Khan)
13
             46.     Plaintiffs reassert and reallege the allegations contained in the
14

15 foregoing paragraphs as though fully restated herein.

16           47.     Khan was duty bound to act with the utmost good faith for the benefit
17
      of Plaintiffs, Plaintiffs reposed confidence in the integrity of Khan, and Khan
18

19 voluntarily accepted or assumed to accept such confidence.

20           48.     As such, Khan owed Plaintiffs a fiduciary duty, including the duty to
21
      put Plaintiffs’ interests ahead of his own.
22

23           49.     Khan breached his fiduciary duty by: (1) misrepresenting his
24 experience, expertise and ability to take Salgado public, (2) failing to effectuate the

25
      merger of Salgado and Bell Rose, yet misrepresenting that the merger was complete,
26

27 verbally, in the Amendment, and in a press release, (3) falsely stating that Tombran

28 and Taub had not been compensated for their role in Salgado’s acquisition of Bell

                                                 10
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 11 of 17 Page ID #:11




 1
      Rose, when in fact they had been compensated, and (4) falsely stating that Khan’s

 2 and others’ Salgado stock had to be transferred and/or converted to Bell Rose stock

 3
      as a result of the non-existent merger.
 4

 5          50.    Plaintiffs have suffered damages as a result of Khan’s breach of

 6 fiduciary duty.

 7
                      COUNT IV – FRAUD IN THE INDUCEMENT
 8                           (By Salgado Against Khan)
 9
            51.    Plaintiffs reassert and reallege the allegations contained in the
10

11 foregoing paragraphs as though fully restated herein.

12          52.    Khan made numerous misrepresentations to induce Salgado to enter
13
      into the Amendment including, but not limited to, misrepresentations that: (1) the
14

15 merger of Salgado and Bell Rose was complete, such misrepresentations being made

16 verbally, in the Amendment, and in a press release, and (2) as part of the non-existent

17
      merger, Khan’s shares of Salgado had to be converted to shares of Bell Rose.
18

19          53.    Khan knew or should have known that the representations were false
20 when made.

21
            54.    Khan made the misrepresentations with the intent to defraud Salgado
22

23 and/or to induce Salgado reliance on the representations.

24          55.    Salgado justifiably relied on the misrepresentations and was induced to
25
      enter into the Amendment based on the misrepresentations.
26

27          56.    Salgado seeks to void the Amendment and to recover damages caused
28 by Khan’s fraudulent inducement.

                                                11
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 12 of 17 Page ID #:12




 1
                      COUNT V – RESCISSION OF AMENDMENT
                          FOR UNILATERAL MISTAKE
 2                           (By Salgado against Khan)
 3
            57.   Plaintiffs reassert and reallege the allegations contained in the
 4

 5 foregoing paragraphs as though fully restated herein.

 6          58.   Prior to execution of the Amendment, Khan represented to Salgado that
 7
      the merger of Salgado into Bell Rose was complete, which representation
 8
 9 specifically appears in the Amendment. See Exhibit C.

10          59.   The merger was not complete and, to this date, has still not occurred.
11
            60.   Salgado entered into the Amendment based on its mistaken belief, as a
12

13 result of Khan’s misrepresentations and the language of the Amendment drafted by

14 Khan, that the merger was complete and that it was necessary to convert Khan’s

15
      Salgado stock to Bell Rose stock.
16

17          61.   Khan was aware of Salgado’s unilateral mistake and encouraged or
18 fostered that mistake.

19
            62.   Salgado’s unilateral mistake had a material effect upon the agreed
20

21 exchange of performances that is adverse to Salgado.

22          63.   Salgado seeks rescission of the Amendment and to recover damages
23
      caused by Khan’s misconduct.
24

25 / / /

26 / / /

27
      ///
28

                                              12
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 13 of 17 Page ID #:13




 1
                  COUNT VI - RESCISSION OF AMENDMENT
                  PURSUANT TO Cal. Civ. Code §§ 1689 and 1692
 2                           (By Salgado against Khan)
 3
            64.   Plaintiffs reassert and reallege the allegations contained in the
 4

 5 foregoing paragraphs as though fully restated herein.

 6          65.   Prior to execution of the Amendment, Khan represented to Salgado that
 7
      the merger of Salgado into Bell Rose was complete and that representation
 8
 9 specifically appears in the Amendment. See Exhibit C.

10          66.   The merger was not complete and, to this date, has still not occurred.
11
            67.   Salgado entered into the Amendment based on its mistaken belief,
12

13 based on Khan’s misrepresentations and the language of the Amendment drafted by

14 Khan, that the merger was complete and that it was necessary to convert Khan’s

15
      Salgado stock to Bell Rose stock.
16

17          68.   Salgado’s consent to the Amendment was therefore as a result of
18 mistake, fraud and undue influence, exercised by or with the connivance of Khan,

19
      and Salgado is therefore entitled to rescind the Amendment. Cal. Civ. Code §
20

21 1689(b)(1).

22          69.   The Amendment also lacks consideration and Salgado is therefore
23
      entitled to rescind the Amendment. Cal. Civ. Code § 1689(b)(2) and (3).
24

25          70.   Alternatively, to the extent completion of the merger was intended to
26 constitute consideration for the Amendment, the merger was not completed, such

27

28

                                              13
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 14 of 17 Page ID #:14




 1
      consideration is void and/or fails, and Salgado is therefore entitled to rescind the

 2 Amendment. Cal. Civ. Code § 1689(b)(2) and (3).

 3
            71.   Salgado seeks rescission of the Amendment and to recover damages
 4

 5 caused by Khan’s misconduct.

 6                                COUNT VII – RESTITUTION
 7                             (By Bell Rose against All Defendants)

 8          72.   Plaintiffs reassert and reallege the allegations contained in the
 9
      foregoing paragraphs as though fully restated herein.
10

11          73.   Defendants are currently identified by PST as holders of millions of

12 common and preferred shares in Bell Rose.

13
            74.   Defendants provided no consideration to Bell Rose for the shares, they
14

15 were procured as a result of Khan’s fraud, and Defendants were separately

16 compensated for their roles in the acquisition of Bell Rose by Salgado.

17
            75.   Defendants have therefore been unjustly enriched at the expense of Bell
18

19 Rose and it would be unjust for Defendants to retain the Bell Rose stock under the

20 circumstances present in this case.

21
                      COUNT VIII – DECLARATORY JUDGMENT
22                       (By Plaintiffs against All Defendants)
23
            76.   Plaintiffs reassert and reallege the allegations contained in the
24

25 foregoing paragraphs as though fully restated herein.

26          77.   Based on the allegations set forth above, Plaintiffs seek a declaratory
27
      judgment: (1) rescinding the purported issuances of Bell Rose stock to Defendants
28

                                              14
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 15 of 17 Page ID #:15




 1
      and/or declaring that the purported issuances of Bell Rose stock to Defendants are

 2 null and void and of no force or effect, (2) declaring that any alleged issuance of Bell

 3
      Rose stock to Defendants was, and is, null and void and of no force and effect, that
 4

 5 Defendants do not own any Bell Rose stock and that the stock allegedly issue or

 6 transferred to Defendants continues to be held by Bell Rose, and (3) rescinding the

 7
      Amendment and/or declaring the Amendment null and void and of no force or effect.
 8
 9          78.    Pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, this Court

10 has authority to declare the rights and other legal relations of parties to a case of

11
      actual controversy.
12

13          79.    A case of actual controversy exists here because the dispute regarding

14 the Bell Rose stock is definite and concrete, can be addressed by specific relief

15
      through a decree of a conclusive character, the parties have adverse legal interests,
16

17 and such interests are of sufficient immediacy and reality to warrant the issuance of

18 a declaratory judgment.

19
                                  REQUEST FOR RELIEF
20

21          WHEREFORE, Plaintiffs request entry of judgment in their favor and
22 against Defendants and request the following specific relief:

23       a. Rescission of the alleged issuances of Bell Rose stock to Defendants;
24       b. Restitution by Defendants of the Bell Rose stock to Bell Rose;
25       c. Rescission and/or voiding of the Amendment;
26       d. A declaratory judgment:
27          (1) rescinding the alleged issuances of Bell Rose stock to Defendants;
28

                                               15
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 16 of 17 Page ID #:16




 1          (2) declaring that any alleged issuance of Bell Rose stock to Defendants was,
 2          and is, null and void and of no force and effect, that Defendants do not own
 3          any Bell Rose stock, and that the stock allegedly issue or transferred to
 4          Defendants continues to be held by Bell Rose; and
 5          (3) rescinding and/or voiding the Amendment;
 6       e. Award of actual, consequential, exemplary, punitive, special and other
 7          damages sufficient to compensate Plaintiffs for all forms of economic and
 8          non-economic loss, plus interest, costs and attorney fees; and
 9       f. Any other relief that the Court deems just, equitable or appropriate under the
10          circumstances.
11

12                                     JURY DEMAND
13          Plaintiffs demand a trial by jury on all causes of action so triable.
14

15 DATED: June 22, 2022                /s/ Thomas D. Mauriello
                                       Thomas Mauriello (SBN: 144811)
16                                     MAURIELLO LAW FIRM
                                       1181 Puerta Del Sol #120
17                                     San Clemente, CA 92673
                                       Phone: (949) 542-3555
18                                     Fax: (949) 606-9690
                                       Email: tomm@maurlaw.com
19
                                       Brian M. Akkashian (To Be Admitted Pro Hac
20                                     Vice)
                                       Devin Bone (To Be Admitted Pro Hac Vice)
21                                     Paesano Akkashian Apkarian, PC
                                       7457 Franklin Road, Suite 200
22                                     Bloomfield Hills, MI 48301
                                       Phone: (248) 792-6886
23                                     Fax: (248) 792-6885
                                       Email: bakkashian@paalawfirm.com
24                                            dbone@paalawfirm.com
25                                     Attorneys for Plaintiffs Salgado Family
26                                     Trucking, Inc. and Bell Rose Capital, Inc.
27

28

                                                16
     Case 5:22-cv-01019-RGK-KK Document 1 Filed 06/22/22 Page 17 of 17 Page ID #:17




 1                                 DECLARATION OF VENUE
 2 I, Thomas D. Mauriello, declare as follows:

 3        1.         I am one of the counsel for Plaintiffs in this action and make this
 4 declaration to the best of my knowledge of the facts stated herein.

 5        2.         At all relevant times herein, Defendants Khan, Tombran, Taub, and
 6 Branalex were and are individuals and entities, respectively, that have engaged in

 7 business in the State of California and in this District.

 8        3.         Some of the transactions that form the basis of this action occurred, and
 9 at least a portion of Defendant’s obligations or liabilities arose, in this District.

10             I declare under penalty of perjury under the laws of the State of California that
11 the foregoing is true and correct. This declaration was signed this 22nd day of June,

12 2022 at San Diego, California.

13

14
                                                       /s/ Thomas D. Mauriello

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  17
